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                                                                 The WHITE HOUSE
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                                      Report to the President on Protecting Children from
                                     Surgical and Chemical Mutilation Executive Summary

                                                                  The White House


                                                                    April 28, 2025




 Background
 Under President Biden, the Federal government promoted a grotesque social and
 scientific experiment on American children. During the first three years of his
 administration alone, more than 7,000 children were administered puberty blockers and
 cross-sex hormones. Over 4,000 were subjected to sex-trait modification surgical
 interventions, such as mastectomies. These interventions were marketed to children on
 the basis of ideologically driven and financially motivated junk-science.
 On January 28, 2025, President Trump signed Executive Order 14187, "Protecting
 Children from Chemical and Surgical Mutilation." EO 14187 prohibits Federal
 departments from funding, sponsoring, assisting, or facilitating the chemical and
 surgical mutilation of minors and directs them to stop these immoral, unjust, and
 disproven practices more broadly to the greatest extent possible. The following sections
 summarize initial steps taken to implement this Order.
 Restoring Scientific Integrity
 Section 3(i) directs agencies to rescind or amend all policies that rely on the "Standards
 of Care Version 8" developed by the World Professional Association for Transgender
 Health (WPATH). These standards were not drafted based on scientific evidence, but on
 political considerations. During the drafting process, then-Assistant Secretary for
 Health, Admiral Levine, lobbied WPATH to drop its proposed age limits for surgical
 mutilation. Levine then issued Federal guidance titled "Gender-affirming Care and
 Young People," which promoted the chemical sterilization and surgical mutilation
 of minors.

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 After President Trump took office in January, the Department of Health and Human
 Services (HHS) immediately removed this document, along with other pseudo-scientific
 information, from its webpages. On February 14, a court order compelled HHS to display
 this document and other pseudoscientific webpages. HHS followed the court order, but
 provided a notice that it disavows Levine's document - and all materials that cite WPATH
 - in the strongest possible terms.
 Section 3(ii) directs HHS to publish an evidence-based review of the literature on best-
 practices to promote the health of children who assert gender dysphoria. HHS has
 coordinated with a team of eight distinguished scholars, and will publish this review by
 the 90-day deadline.
 Promoting Accurate Information
 Section 3(b) directs HHS to use "all available methods" to increase data quality to
 improve practices "for improving the health of minors with gender dysphoria."
 The lead researcher of one notable study, funded by the National Institute for Health
 (NIH), withheld its results from the public for political reasons. The NIH has taken, and
 will continue to take, all necessary and proper steps to ensure accountability and
 transparency for all taxpayer-funded studies.
 HHS is reviewing data tools to ensure that Federal data collection reflects biological
 reality and provides medically useful information.
 Stopping Taxpayer-Funded Child Experimentation and Mutilation
 Section 4 directs HHS to "immediately take appropriate steps to ensure that [medical]
 institutions receiving federal research or education grants end the chemical and surgical
 mutilation of children."
 HHS has eliminated 215 such grants, saving taxpayers over $477 million. Two examples
 include: a $1,319,024 grant to the Center for Innovative Public Health research for
 "#TranscendantHealth - Adapting an LGB+ inclusive teen pregnancy prevention
 program for transgender boys;" and a $5,955,310 grant to Boston Children's Hospital for
 "TransHealthGUIDE: Transforming Health for Gender-Diverse Young Adults Using
 Intervention to Drive Equity."
 Ensuring Proper Medical Treatment
 Section 5 directs HHS to take all appropriate actions to end the chemical and surgical
 mutilation of children. On March 5, the Centers for Medicare & Medicaid Services (CMS)
 issued a Quality and Safety Special Alert Memo entitled "Protecting Children from
 Chemical and Surgical Mutilation," which alerted providers to the dangers of chemical
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 mutilation as well as the lack of medical evidence supporting their use. Among other
 provisions, the letter stated that:
 it is of utmost importance that all providers follow the highest standards of care and
 adhere closely to the foundational principles of medicine, especially as it comes to
 America's children. This CMS alert to providers on the dangerous chemical and surgical
 mutilation of children, including interventions that cause sterilization, is informed by a
 growing body of evidence and protective policies across the world.
 Within days, similar letters were sent by the Substance Abuse and Mental Health
 Services Administration, the Health Resources and Services Administration, and the
 Office of the Assistant Secretary for Health.
 This administration is preparing other actions in accordance with Section 5. HHS,
 through CMS, is also exploring every avenue to increase access to detransition care.
 Pursuant to Section 6, the Department of Defense has required its health services
 contractors to discontinue child mutilation as a covered benefit. Pursuant to Section 7,
 the Office of Personnel Management has excluded coverage for the mutilation of the
 children of the Federal civilian workforce beginning in Plan Year 2026.
 Ensuring Equal Protection and Rule of Law
 Pursuant to Section 8, the Department of Justice (DOJ) has prepared guidance
 regarding enforcement of 18 U.S.C. § 116, prioritizing protection against female genital
 mutilation, and will convene State Attorneys General to coordinate enforcement. It has
 also initiated investigations of multiple entities that have misled the public about the
 long-term side effects of chemical and surgical mutilation under the Food, Drug, and
 Cosmetic Act.
 DOJ has drafted and submitted legislation creating a private right of action, with a long
 statute of limitations, for children whose bodies have been chemically and surgically
 damaged and their parents, for additional review. DOJ will also establish a "Parental
 Rights Task Force" to vindicate the rights of parents in states like California, where
 parental refusal to consent to the mutilation of their children can enable the state to
 remove children from parental custody, and to further uphold parents' recognized
 constitutional rights.




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